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                                                UNITED STATES DISTRICT COURT FOR THE
                          17                       CENTRAL DISTRICT OF CALIFORNIA
                          18
                                T.P., et al.,                                  )         Case No.: 15-cv-5346-R
                          19                                                   )
                          20                    Plaintiffs,                    )         PHASE III PLAINTIFFS’
                                                                               )         LOCAL RULE 16.4
                          21
                                        v.                                     )         MEMORANDUM OF
                          22                                                   )         CONTENTIONS OF FACT AND
                          23    WALT   DISNEY      PARKS                   AND )         LAW
                                RESORTS U.S. INC.,                             )
                          24                                                   )         Hon. Manuel L. Real
                          25                    Defendant.
                                                                               /         Jury Trial: July 9, 2019
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                           1              Pursuant to Local Rule 16-4 and the Court’s Orders, Plaintiffs C.M.H. and
                           2    H.A.H., respectfully submit the following Memorandum of Contentions of Fact
                           3    and Law, outlining the issues to be presented in the trial presently scheduled to
                           4    commence July 9, 2019.
                           5    I. INTRODUCTION
                           6              This is a civil action for damages brought against Walt Disney Parks and
                           7    Resorts U.S., Inc. (“Disney”) on behalf of multiple families with children who
                           8    suffer from cognitive disabilities, primarily Autism Spectrum Disorder (“autism”).
                           9    This is an action seeking damages pursuant to common law claims based, in part,
                          10    upon Disney’s violations of the Americans with Disabilities Act, 42 U.S.C.
                          11    §12131 (“ADA”), and Unruh Civil Rights Act, Cal. Civ. Code §51 and §54
                          12    (“Unruh Act”). For decades, with few exceptions, Disney’s accommodation of
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                          13    disabled persons, particularly persons with developmental disorders such as
                          14    autism, was the finest in the country. Disney’s policy went by several names over
                          15    the years, most recently the Disney “Guest Assistance Card” (GAC) in the 1990s
                          16    and 2000s. During these years, until late 2013, Disney generally accommodated
                          17    persons with disabilities by allowing them access to Disney’s attractions via
                          18    “Fastpass” lines or other alternate entrances including “back door” and “side
                          19    door” entry areas.1 Fastpass lines are reserved for guests who make appointments
                          20    to visit the attractions. The ability to make Fastpass line appointments typically
                          21    expires early on any given day of a Disney park visit, because the number of
                          22    appointments is limited and guests consume the available appointment times at the
                          23    beginning of the day. The Fastpass lines do not permit immediate access to the
                          24    attractions, because even guests who make appointments usually must wait a few
                          25    minutes to enter an attraction at the appointment time.
                          26
                                1
                          27         Alternate entry access to specific attractions has always been more common at Disneyland
                                    than at Walt Disney World, as many of the California attractions were built long before the
                          28        advent of Fastpass, which was more common at Walt Disney World.
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                           1            In early 2012, as a result of “an ECV [electric wheelchairs] Strategy project
                           2    which has recently been approved by senior leadership,” Disney empanelled a
                           3    committee to study Disney’s “access policies and tools for Guests with
                           4    Disabilities.” After certain news reports surfaced in May of 2013, the publicly-
                           5    stated reason for studying alternatives to the GAC, and ultimately releasing the
                           6    new system, was not the proliferation of motorized wheelchairs in Disneyland but
                           7    was “abuse” of the GAC by non-disabled persons. In truth, other reasons played
                           8    into the decision, including Disney’s inability to integrate a disability system into
                           9    its increasingly electronic crowd management systems, and Disney’s inability to
                          10    accurately track the quantity of attraction and ride usage flowing from all such
                          11    uses.
                          12            From its initial formation, the committee’s focus was on developing a
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                          13    “dance card” system. The idea was that disabled guests would be issued a card to
                          14    carry through the park, with which they would obtain appointment times to return
                          15    to the ride. The concept is consistent with Disney’s over-arching theme for all its
                          16    parks, which is to transition the parks into environments where all experiences
                          17    occur “by appointment only,” effectively allowing Disney to maximize its
                          18    management of crowds through manipulation of the traffic patterns of Disney’s
                          19    guests.
                          20            Disney touted its system as a fair one because it called for a “virtual wait.”
                          21    Under the Disability Access Service (“DAS”), as the “dance card” system came to
                          22    be known, guests would be given a time to visit the ride that was approximately
                          23    equal to the time which would be required if the guest was, at that moment,
                          24    standing in line.
                          25            For many years, Disney had a department devoted to services and
                          26    accessibility for Disney’s guests with disabilities. Even so, the DAS committee
                          27    was chaired by personnel in Disney’s industrial engineering department, and not
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                           1    by persons in Disney’s disabilities group. The evidence in this case will show that
                           2    Disney’s disabilities group developed a thorough understanding of the needs of its
                           3    guests with cognitive disabilities, particularly autism. Disney knew that guests
                           4    with autism could not wait for extended periods of time, as many such guests
                           5    would be unable to be diverted or occupied in order to wait for a scheduled return
                           6    time for a ride or attraction. For more than a year after the DAS committee was
                           7    formed, Disney’s disabilities personnel expressly voiced their concern that the
                           8    “dance card” system, while it might work for most disabled persons, would not
                           9    accommodate, and would uniquely prejudice, one group of disabled persons:
                          10    persons with cognitive impairments, including autism. The disabilities personnel
                          11    pointed out to Disney’s statistics-driven engineers that autistic persons, at least
                          12    excepting those on the highest-functioning end of the autism spectrum, cannot
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                          13    comprehend the concept of time. Their issue is not that they cannot tolerate
                          14    waiting in lines – it is that they cannot tolerate waiting, beyond a few minutes, the
                          15    number of tolerable minutes varying from guest to guest, depending upon the
                          16    nature and severity of the disability.              Plaintiffs, including C.M.H., cannot
                          17    appreciate that in exchange for doing nothing in the present they are being given
                          18    an appointment to experience something in the future.
                          19           Although Disney’s disabilities specialists voiced precisely this concern to
                          20    the DAS committee, Disney’s industrial engineers refused to heed these warnings.
                          21    Instead, they consistently suggested that Disney could accommodate all disabled
                          22    persons in one consistent way: by eliminating the need to wait in line as a
                          23    precondition of experiencing Disney’s attractions; by equalizing wait times for all
                          24    rather than accommodating wait time challenges for some. Ultimately, the DAS
                          25    committee deliberately ignored the pleas of Disney’s disabilities personnel and
                          26    released the DAS in its present form.
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                           1           Disney expressly proposes that its current DAS is a one-size-fits-all
                           2    disabilities accommodation policy; that the DAS can accommodate each and every
                           3    guest and each and every disability, without modification. However, this premise
                           4    is belied by Disney’s own internal documents and communications leading up to
                           5    the creation of the DAS. Furthermore, the complaints of thousands of families
                           6    with autistic children prove that the warnings offered by Disney’s disability
                           7    personnel were well-taken. Despite these facts, Disney refuses to conduct
                           8    individual assessments of their disabled guests, and refuses to offer those with
                           9    cognitive disabilities any accommodation other than the DAS.
                          10           Disney suggests that it confers with the families of disabled guests at the
                          11    time the DAS is provided. These interactions are not genuine “individualized
                          12    assessments” but are sham substitutes for same.
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                          13    II. THE PARTIES’ CLAIMS AND DEFENSES (L.R. 16-4.1)
                          14       A. PLAINTIFFS’ CLAIMS AND ELEMENTS
                          15           1. Summary of Plaintiffs’ Claims (L.R. 16-4.1(a), (b))
                          16           This case initially encompassed the claims of 27 Plaintiff families who
                          17    visited the Disneyland resort in California, and Walt Disney World in Orlando,
                          18    Florida. The case was transferred to the Middle District of Florida, where the
                          19    Court dismissed 13 families’ non-statutory claims, sua sponte, and retained
                          20    jurisdiction over their ADA and Unruh Act claims. The 13 families’ dismissed
                          21    common law tort and contract claims were re-filed in the instant Complaint, along
                          22    with the claims of 14 new families. During September of 2016, the Middle District
                          23    of Florida entered summary judgment against all of the dozens of families who
                          24    had actions pending there, finding no question of material fact in any case about
                          25    any Plaintiff’s need for accommodation. Thereafter, by Orders dated October 4,
                          26    2016 [D126] and April 13, 2017 [D145], this Court ruled that the families which
                          27    brought actions in Florida and suffered adverse summary judgments there under
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                           1    ADA and the Unruh Act are collaterally estopped from litigating any of their
                           2    pleaded claims or issues in this Court.
                           3              On August 30, 2018, the Eleventh Circuit Court of Appeals reversed all 30
                           4    appeals taken from the Florida judgments. See A.L. v. Disney, 900 F.3d 1270 (11th
                           5    Cir. 1918). Because the reversed Florida judgments formed the basis for this
                           6    Court’s dispositive orders, the Plaintiffs who suffered those orders have filed
                           7    motions for relief.
                           8              This Court previously established a case management procedure which calls
                           9    for the parties to select two bellwether cases to be tried. Promptly following each
                          10    sequential trial of two cases, a mediation is to commence, through which the
                          11    parties can apply in negotiations the experience gained from the immediately
                          12    preceding trial. With this procedure, the Court scheduled two prior trials – the
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                          13    Phase I trial for Plaintiffs T.P. & S.P. and A.M.W., D.L.W. & R.D.W., and the
                          14    Phase II trial for Plaintiffs P.F.E. & B.P.E. and E.A.P. & A.E.P. On the eve of
                          15    each trial, the Court entered the dispositive rulings described above.
                          16              The Phase III trial is now scheduled to commence July 8, 2019, for two
                          17    families: Plaintiffs C.M.H. & H.A.H. and J.F.S. & J.A.S. When the Phase III trial
                          18    was initially scheduled, the undersigned counsel represented both families. By
                          19    Order dated January 31, 2019, this Court granted counsel’s withdrawal for J.F.S.
                          20    & J.A.S.2
                          21
                          22
                          23    2
                                    While J.F.S. and J.A.S. have taken no discernible action in the case since the withdrawal,
                                    they appear to remain designated as Phase III bellwether Plaintiffs. No attorney has
                          24        appeared in the action as counsel for J.F.S., contrary to the dictates of Johns v. Cty. of San
                                    Diego, 114 F.3d 874 (9th Cir. 1997) (parent or guardian cannot bring action on behalf of
                          25        minor child without retaining counsel), and no guardian ad litem has been appointed for J.F.S.,
                                    contrary to the guidance of Davis v. Walker, 745 F.3d 1303, 1310 (9th Cir. 2014) (“the court
                          26        generally should appoint a guardian ad litem under Rule 17(c)” for any litigant determined to
                                    be incompetent).
                          27
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                           1           The claims of C.M.H. are brought by and through his natural parent and
                           2    guardian H.A.H. H.A.H. also asserts individual claims on her own behalf. The
                           3    Plaintiff families in these bellwether cases bring claims against Disney for
                           4    intentional and negligent infliction of emotional distress, violation of the
                           5    California Unruh Civil Rights Act, and breach of contract. The following separate
                           6    claims by the Plaintiff families against Disney are set forth in the Complaint.
                           7                    C.M.H./H.A.H. Claims (Doc. 1-1; 1-6; 1-7: Counts 114-119)
                           8
                           9    Count                       Cause of Action                        Plaintiff

                          10    114        Negligent Infliction of Emotional Distress     C.M.H., through H.A.H.

                          11    115        Intentional Infliction of Emotional Distress   C.M.H., through H.A.H.
                          12    116        Unruh Civil Rights Act                         C.M.H., through H.A.H.
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                          13    117        Negligent Infliction of Emotional Distress     H.A.H.
                          14    118        Intentional Infliction of Emotional Distress   H.A.H.
                          15    119        Breach of Contract                             H.A.H.
                          16
                                           a. Claim 1: Intentional Infliction of Emotional Distress
                          17
                                       Summary:        The Plaintiffs’ claims arise from Disney’s deliberate and
                          18
                                knowing refusal to accommodate C.M.H.’s cognitive disabilities as a guest of
                          19
                                Disney’s theme parks. For many years, Disney accommodated guests with
                          20
                                cognitive disabilities such as autism by providing the Guest Assistance Card
                          21
                                (“GAC”), which permitted disabled guests to access Disney’s attractions without
                          22
                                being required to wait for extended periods of time in a traditional queue.
                          23
                                Plaintiff’s cognitive disabilities leave him unable to wait for extended periods of
                          24
                                time without suffering mental and emotional distress, manifesting itself in
                          25
                                emotional and physical behaviors that culminate in what is commonly known as a
                          26
                                meltdown. During a meltdown related to Plaintiff’s cognitive disability, he suffers
                          27
                                from extreme mental and emotional distress, which constitutes a physical injury
                          28
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                           1    under California Law. Because of the severity of the mental and emotional distress
                           2    that C.M.H. often suffers during a meltdown, a reasonable and foreseeable
                           3    consequence of H.A.H. observing and trying to ameliorate his extreme distress is
                           4    that H.A.H. also suffers severe emotional distress.
                           5           Elements: The elements for establishing a claim of intentional infliction of
                           6    emotional distress are as follows:
                           7              1.   Disney engaged in outrageous conduct;
                           8              2.   Disney intended to cause, or acted with reckless disregard of the
                           9                   probability of causing emotional distress;
                          10              3.   Plaintiff suffered severe emotional distress; and,
                          11              4.   Disney’s outrageous conduct was the actual and proximate cause of
                          12                   Plaintiff’s emotional distress.
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                          13           Wong v. Tai Jing, 189 Cal. App. 4th 1354, 1376 (2010); Hughes v. Pair, 46
                          14    Cal. 4th 1035, 1050 (2009); Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965,
                          15    1001 (1993).
                          16           While not an element necessary to establish negligent, intentional or
                          17    reckless conduct, Plaintiffs will show that in failing to conduct an individual
                          18    assessment of C.M.H.’s needs and properly accommodate his disability, Disney
                          19    violated the ADA and the Unruh Act. These violations of the law constitute
                          20    evidence of Disney’s intentional conduct, its recklessness, and its negligence. See
                          21    Quiroz v. Seventh Ave. Ctr., 140 Cal. App. 4th 1256, 1285, 45 Cal. Rptr. 3d 222
                          22    (2006). Plaintiffs will seek an instruction to the jury that Disney’s violation of the
                          23    ADA and Unruh Act in the context of the Plaintiff’s claims constitutes negligence
                          24    per se.
                          25           Key Evidence in Support of Claim: Plaintiffs incorporate their introductory
                          26    statement, above. Plaintiffs will introduce evidence in the form of testimony from
                          27    Disney executives and employees establishing that Disney knew that the DAS
                          28
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                           1    would not accommodate guests such as C.M.H. and that such guests would suffer
                           2    a disparate impact when Disney unleashed the DAS. The testimony and
                           3    documentary evidence will show that Disney developed a sophisticated
                           4    knowledge of the needs of guests with cognitive disabilities such as autism, and
                           5    knew that certain of these guests were unable to wait for extended periods of time
                           6    without suffering from emotional distress as a result of their disabilities. Plaintiffs
                           7    will introduce documentary evidence in the form of internal communications,
                           8    memoranda, and studies proving that Disney knew that unleashing the DAS would
                           9    result in emotional harm to guests with cognitive disabilities such as autism,
                          10    which prevents such guests from waiting for an extended period of time.
                          11           The documentary evidence will show that Disney executives and employees
                          12    who were historically tasked with providing accommodations to guests with
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                          13    disabilities and complying with the ADA warned Disney that unleashing the DAS
                          14    would result in harm to such disabled guests, as the DAS could not accommodate
                          15    their inability to wait for extended periods of time.
                          16           Plaintiffs’ evidence will show that C.M.H.’s disabilities are of precisely the
                          17    type that Disney’s disability professionals tried unsuccessfully to warn Disney
                          18    about, and that C.M.H. was subjected to repeated callous discrimination of
                          19    precisely the type Disney’s disability professionals predicted, during visits
                          20    Disney’s parks in 2014, 2015, 2016 and 2017.
                          21               b. Claim 2: Negligent Infliction of Emotional Distress
                          22           Summary: At the time Plaintiffs visited Disney’s theme park, Disney had a
                          23    duty to provide its guests with disabilities an individual assessment to determine
                          24    its disabled guests’ needs and to provide an appropriate and reasonable
                          25    accommodation to that guest. When Disney when it unleashed the DAS, it knew
                          26    or should have known the DAS would not accommodate the special needs of
                          27    guests like C.M.H. Among other things, Disney’s own employees warned that the
                          28
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                           1    DAS would not accommodate, and would disparately impact, guests with certain
                           2    cognitive disabilities. Disney failed to exercise reasonable care by conducting
                           3    genuine individual assessments of disabled guests’ needs, and failed to exercise
                           4    reasonable care in providing the guests with a reasonable accommodation for their
                           5    disability. As a direct and proximate result of Disney’s negligence, the C.M.H.
                           6    suffered from severe emotional distress because he was forced to wait for
                           7    extended periods of time to access the attractions at Disney’s theme parks. The
                           8    harm to Plaintiffs was reasonably foreseeable because Disney anticipated the DAS
                           9    would not accommodate its guests with cognitive disabilities. As a direct and
                          10    proximate result of Disney’s negligence, C.M.H. suffered severe emotional
                          11    distress. H.A.H. suffered severe emotional distress by directly witnessing her
                          12    disabled child’s emotional distress which was caused by Disney’s negligence in
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                          13    failing to accommodate his disability.
                          14           Elements: The elements of a claim for Negligent Infliction of Emotional
                          15    Distress are founded in negligence, and are as follows:
                          16           1. That Disney owed a duty to Plaintiffs to provide an individual
                          17               assessment of C.M.H.’s disabilities, and to provide an accommodation
                          18               for such disability so as to allow Plaintiffs access to Disney’s parks;
                          19           2. That Disney had a duty to comply with applicable law in individually
                          20               assessing C.M.H.’s disabilities and in providing an appropriate
                          21               accommodation for such disability to allow Plaintiffs access to Disney’s
                          22               parks;
                          23           3. That Disney had a duty to exercise reasonable care in fulfilling its duties
                          24               to Plaintiffs;
                          25           4. That Disney knew or should have known that failing to comply with the
                          26               law in providing C.M.H. with an individual assessment of and
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                           1               appropriate accommodation for his disability was likely to result in harm
                           2               to Plaintiffs;
                           3           5. That Disney breached its duty to Plaintiffs by failing to provide an
                           4               individual assessment of and appropriate accommodation for C.M.H.’s
                           5               disability; and,
                           6           6. As a direct and proximate result of Disney’s breach, Plaintiffs have
                           7               suffered damages.
                           8    Potter v. Firestone Tire & Rubber Co., 6 Cal.4th 965, 25 Cal.Rptr.2d 550, 863
                           9    P.2d 795; Burgess v. Superior Court, 2 Cal. 4th 1064, 1072 (1992).
                          10           While not an element necessary to establish negligent, intentional or
                          11    reckless conduct, Plaintiffs will show that in failing to conduct an individual
                          12    assessment of Plaintiffs’ needs and properly accommodate Plaintiffs’ disability,
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                          13    Disney violated the ADA and the Unruh Act. These violations of the law
                          14    constitute evidence of Disney’s intentional conduct, its recklessness, and its
                          15    negligence. See Quiroz v. Seventh Ave. Ctr., 140 Cal. App. 4th 1256, 1285, 45 Cal.
                          16    Rptr. 3d 222 (2006). Plaintiffs will seek an instruction to the jury that Disney’s
                          17    violation of the ADA and Unruh Act in the context of the Plaintiffs’ claims
                          18    constitutes negligence per se.
                          19           Key Evidence in Support of Claim: Plaintiffs incorporate their introductory
                          20    statement, above. Plaintiffs will introduce evidence in the form of testimony from
                          21    Disney executives and employees establishing that Disney knew the DAS would
                          22    not accommodate guests such as C.M.H. and that such guests would suffer a
                          23    disparate impact when Disney unleashed the DAS. The testimony and
                          24    documentary evidence will show that Disney developed a sophisticated
                          25    knowledge of the needs of guests with cognitive disabilities such as autism, and
                          26    knew that certain of these guests were unable to wait for extended periods of time
                          27    without suffering from emotional distress as a result of their disabilities. Plaintiffs
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                           1    will introduce documentary evidence in the form of internal communications,
                           2    memoranda, and studies proving that Disney knew that unleashing the DAS would
                           3    result in emotional harm to guests with cognitive disabilities such as autism,
                           4    which prevents such guests from waiting for an extended period of time.
                           5             The testimony and documentary evidence will show that Disney assumed
                           6    the duty, in part because of its obligations to comply with the ADA and Unruh
                           7    Act, to conduct an individual assessment of disabled guests and to reasonably
                           8    accommodate their disabilities. The documentary evidence will show that Disney
                           9    was negligent in ignoring the warnings provided by executives and employees
                          10    historically tasked with providing accommodations to guests with disabilities,
                          11    clear warnings that unleashing the DAS would result in harm to such disabled
                          12    guests. The evidence will show that it was reasonably foreseeable to Disney that
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                          13    its negligence in assessing and accommodating guests with disabilities would
                          14    result in severe emotional distress to those guests with cognitive disabilities such
                          15    as autism.
                          16             C.M.H. will provide testimony and documentary evidence establishing that
                          17    during the years prior to the DAS, they enjoyed their visits to the Disney parks,
                          18    and were able to access the rides and attractions with the accommodation Disney
                          19    previously provided. However, once Disney implemented the DAS, C.M.H. faced
                          20    extended wait times and disruptions in routine, causing him to experience severe
                          21    emotional distress despite his parents’ best efforts to work with the new system.
                          22    Their inability to endure the extended wait times and disruptions is the result of
                          23    C.M.H.s disabilities, and the situation is one which Disney could easily
                          24    accommodate, but refuses to do so. C.M.H.’s mother, Plaintiff H.A.H., has also
                          25    suffered emotional distress as a result of Disney’s refusal to accommodate her
                          26    child.
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                           1
                           2               c. Claim 3: Violation of the California Unruh Civil Rights Act
                                Summary: Plaintiffs will prove their entitlement to relief under the Unruh Act
                           3
                                through both mechanisms: Cal. Civ. Code § 51(b), which provides a state law
                           4
                                remedy for intentional discrimination; and Cal. Civ. Code § 51(f), which provides
                           5
                                a state law remedy for discrimination which violates the Americans with
                           6
                                Disabilities Act.
                           7
                                Elements. To prevail on a disability discrimination claim under the Unruh Civil
                           8
                                Rights Act, a plaintiff must establish the following:
                           9
                                   1. The defendant denied plaintiff the full and equal accommodations,
                          10
                                       advantages, facilities, privileges, or services;
                          11
                                   2. A motivating reason for defendant's conduct was plaintiff's disability;
                          12
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                                   3. The plaintiff was harmed;
                          13
                                   4. The defendant's wrongful conduct was a substantial factor in causing
                          14
                                       plaintiff's injury.
                          15
                                Johnson v. Dhami, 2014 WL 4368665, *3 (E.D. Cal. 2014); California Civil Jury
                          16
                                Instructions (CACI), No. 3020.
                          17
                                       The Unruh Act expressly provides that a violation of ADA constitutes a
                          18
                                violation of the Unruh Act. Cal. Civ.Code § 51(f). Where a plaintiff seeks to
                          19
                                establish liability under the Unruh Act by showing a violation of the Unruh Act,
                          20
                                they need not prove intentional discrimination. Johnson v. Dhami, Id. at *3;
                          21
                                Munson v. Del Taco, Inc., 208 P.3d 623 (Cal. 2009).
                          22
                                       Where a plaintiff seeks to establish liability under the Unruh Act
                          23
                                independent of ADA, Plaintiffs must show intentional discrimination. Greater Los
                          24
                                Angeles Agency on Deafness, Inc. v. Cable News Network, Inc., 742 F.3d 414, 425
                          25
                                (9th Cir. 2014); Munson v. Del Taco, Inc., 46 Cal. 4th 661 (2009)).
                          26
                                       Intentional discrimination under the Unruh Act can be shown through proof
                          27
                                of “willful, affirmative misconduct.” Greater Los Angeles Agency on Deafness,
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                           1    742 F.3d at 425, citing Koebke v. Bernardo Heights Country Club, 115 P.3d 1212,
                           2    1228 (Cal. 2005)); Gutierrez v. Gonzalez, 2017 WL 1520419, *6 (C.D. Cal. Apr.
                           3    26, 2017); Levine v. Sleep Train, 2016 WL 2961100, *5 (E.D. Cal. 2016), rep. and
                           4    rec. adopted, 2016 WL 3418350 (E.D. Cal. 2016); Banga v. Kanios, 2016 WL
                           5    7230870, *4 (N.D. Cal. 2016).
                           6    Key Evidence in Support of Claim: Plaintiffs intend to introduce testimony and
                           7    documentary evidence which is essentially the same as that which will be offered
                           8    in support of their common law tort claims, as outline above. They will also
                           9    introduce evidence that Disney has violated the Americans with Disabilities Act,
                          10    which will result in a judgment for Plaintiffs on this Unruh Act claim.
                          11           2. Prayer for Relief – Damages
                          12           On all claims, Plaintiffs seek monetary damages to compensate them for
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                          13    their emotional distress suffered as a result of Disney’s intentional and negligent
                          14    conduct in an amount to be determined by the jury.
                          15           On their claim for intentional infliction of emotional distress, Plaintiffs also
                          16    seek punitive damages for Disney’s intentional and outrageous conduct in an
                          17    amount to be determined by the jury.
                          18           On their claim under the Unruh Act, Plaintiffs also seek up to three times
                          19    their actual damages, as a result of Disney’s intentional and morally offensive
                          20    conduct.
                          21       B. SUMMARY OF DEFENDANT’S AFFIRMATIVE DEFENSES AND
                                      KEY EVIDENCE IN OPPOSITION TO DEFENDANT’S
                          22          AFFIRMATIVE DEFENSES (L.R. 16-4.1(d), (f))
                          23           Disney has asserted thirty (30) “affirmative defenses” which lack any
                          24    alleged or actual factual basis or foundation, leaving Plaintiffs unable to predict
                          25    the evidence to be offered at trial. Moreover, many of the affirmative defenses are
                          26    not affirmative defenses, but are simple denials of Plaintiffs’ claims or bare
                          27    statements of Disney’s versions of various facts or issues. Generally, the following
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                           1    affirmative defenses do not state a cognizable affirmative defense: First (failure to
                           2    state a claim); Sixth (standing); Seventh (no injury and no standing); Eighth
                           3    (Defendant’s compliance with laws); Eleventh (Plaintiffs’ failure to follow
                           4    procedures); Twelfth (failure to request modification); Thirteenth (requested
                           5    modification not reasonable); Fourteenth (requested modification not necessary);
                           6    Sixteenth (Plaintiffs’ accommodation not required by law); Seventeenth
                           7    (Plaintiffs’ needs were accommodated); Eighteenth (Defendant did not
                           8    discriminate); Nineteenth (no modifications required and Defendant acted in good
                           9    faith); Twentieth (Plaintiffs’ damages caused by pre-existing conditions); Twenty-
                          10    Second (no emotional distress); Twenty-Third (no violation of legal duty);
                          11    Twenty-Fourth (inadequate proof to support punitive damages); Twenty-Fifth (no
                          12    punitive damages for breach of contract); Twenty-Sixth (adequate remedy at law);
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                          13    Twenty-Seventh (unjust enrichment); Twenty-Eighth (defense attorneys’ fees
                          14    under Cal. Civ. Code. §55); Thirty-First (reservation of any and all other
                          15    affirmative defenses).
                          16           The following affirmative defenses are not proper affirmative defenses
                          17    because no facts have been alleged or offered to support them: First (failure to
                          18    state a claim); Second (statute of limitations); Third (“payment, release and/or
                          19    accord and satisfaction”); Fourth (failure to mitigate damages); Fifth (“unclean
                          20    hands, waiver, abandonment, laches, estoppel, and/or other equitable defenses”);
                          21    Sixth (standing); Seventh (no injury and no standing); Ninth (waiver); Tenth
                          22    (estoppel); Eleventh (Plaintiffs’ failure to follow procedures); Twenty-First
                          23    (Plaintiffs damages caused by “intervening, superseding and/or supervening
                          24    actions of others”); Twenty-Sixth (adequate remedy at law).
                          25           The following affirmative defenses are not proper affirmative defenses as a
                          26    matter of law, because they are “catch-all” defenses which attempt to assert or
                          27    preserve multiple commingled defenses without stating which one is actually to be
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                           1    pursued: Third (“payment, release and/or accord and satisfaction”); Fifth
                           2    (“unclean hands, waiver, abandonment, laches, estoppel, and/or other equitable
                           3    defenses”); Twenty-First (Plaintiffs’ damages caused by “intervening, superseding
                           4    and/or supervening actions of others”); Thirty-First (reservation of any and all
                           5    other affirmative defenses).
                           6                  C. SUMMARY OF EVIDENTIARY ISSUES (L.R. 16-4.1(h)
                           7              Plaintiff does not know which issues of evidence, if any, will require
                           8    resolution by the Court before trial.
                           9                  D. IDENTIFICATION OF ISSUES OF LAW (L.R. 16-4.1(i))
                          10              Plaintiff does not know which issues of law, if any, will require resolution
                          11    by the Court before trial.
                          12    III.      JURY TRIAL (L.R. 16-4.4)
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                          13                  A. ISSUES TRIABLE TO THE JURY
                          14           A timely demand for jury trial has been made. The following issues are triable
                          15    to the jury:
                          16                 Whether Disney breached its duty to provide C.M.H. with an
                          17                  individualized assessment of his special needs, to provide reasonable
                          18                  accommodation for his disability, and to provide a reasonable
                          19                  modification of Disney’s disability policy to accommodate his special
                          20                  needs.
                          21                 Whether Disney’s conduct violated the ADA and the Unruh Act.
                          22                 Whether Disney acted intentionally, maliciously, oppressively and/or
                          23                  recklessly in failing to provide C.M.H. with an individual assessment of
                          24                  and reasonable accommodation for his disability.
                          25                 Whether Disney knew that its new DAS program would not adequately
                          26                  accommodate guests such as C.M.H. who suffer from severe cognitive
                          27                  disabilities and impairments.
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                           1              Whether Plaintiffs suffered damages, and, if so, whether Disney’s
                           2               conduct was the proximate cause of such damages.
                           3              The amount of economic damages to which Plaintiffs are entitled.
                           4              The amount of damages to which Plaintiffs are entitled as a result of
                           5               their emotional distress.
                           6              Whether Disney’s conduct was of such a nature as to entitle Plaintiffs to
                           7               punitive damages, and, if so, the appropriate amount of such damages.
                           8               B. ISSUES TRIABLE TO THE COURT
                           9           The following issues are triable to the Court: None.
                          10    IV.    ATTORNEY’S FEES (L.R. 16-4.5)
                          11           Plaintiffs’ claims do not include a request for attorneys’ fees as an element
                          12    of damages. Plaintiffs claim entitlement to attorneys’ fees in the event they prevail
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                          13    on their Unruh Act claims.
                          14
                          15
                          16                                 CERTIFICATE OF SERVICE
                          17           I CERTIFY that on this 29th day of March, 2019, a true and correct copy of
                          18
                                the foregoing was furnished via electronic mail to:
                          19
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